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                       IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

     In re:                                               §
                                                          §   Chapter 11
     KrisJenn Ranch, LLC,                                 §
                                                          §
              Debtor                                      §   Case No. 20-50805
                                                          §
                                                          §


     KrisJenn Ranch, LLC, KrisJenn Ranch,                 §
     LLC–Series Uvalde Ranch, and KrisJenn                §
     Ranch, LLC–Series Pipeline ROW, as                   §
     successors in interest to Black Duck                 §
     Properties, LLC,                                     §
                                                          §   Adversary No. 20-05027
              Plaintiffs,                                 §
                                                          §
     v.                                                   §
                                                          §
     DMA Properties, Inc. and Longbranch                  §
     Energy, LP,                                          §
                                                          §
              Defendants.                                 §


     DMA Properties, Inc.,                                §
                                                          §
              Cross-Plaintiff/Third-Party Plaintiff       §
                                                          §
     v.                                                   §
                                                          §
     KrisJenn Ranch, LLC, KrisJenn Ranch,                 §
     LLC–Series Uvalde Ranch, and KrisJenn                §   Adversary No. 20-05027
     Ranch, LLC–Series Pipeline ROW, Black                §
     Duck Properties, LLC, Larry Wright, and              §
     John Terrill,                                        §
                                                          §
              Cross-Defendants/Third-Party                §
              Defendants                                  §
                                                          §




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           FRANK DANIEL MOORE’S UNOPPOSED MOTION TO INTERVENE

            Frank Daniel Moore moves to intervene in this adversary proceeding. Moore’s

     entity, DMA Properties, Inc. (“DMA”) is already a party to these proceedings and has

     asserted claims against Debtor KrisJenn Ranch, LLC, as well as KrisJenn’s related series and

     its manager, Larry Wright. Because Moore’s claims are inextricably intertwined with the

     claims already asserted by DMA, this Court should grant Moore’s motion to intervene.

                                          Background
            Although Moore sets forth the factual posture of this case at length in his attached

     pleading, Moore briefly recounts the basics here.

     I.     Moore and Wright cofounded Black Duck in 2016.

            Frank Daniel Moore and Larry Wright founded Black Duck Properties, LLC in 2016.

     Wright’s entity—KrisJenn Ranch, LLC—owned 50% of Black Duck, while Moore owned

     the other 50% through his own entity, SCMED Oilfield Consulting. 1 The stated purpose of

     the new entity was “[t]o purchase property and options” related to saltwater disposal

     (SWD) wells “as well as other properties in the state of Texas.”

            Shortly after the formation of Black Duck, Wright learned that Moore and

     Darin Borders—one of Moore’s contacts in the oil-and-gas industry—had secured by

     contract the right to purchase a pipeline right-of-way in East Texas. Under the Purchase

     Agreement, Border’s entity (Longbranch Energy, LP) received the right to purchase the

     right-of-way for $5 million.

     II.    Black Duck acquired the right to purchase the right-of-way.

            When Wright learned about the right-of-way deal, he begged to be a part of it,

     claiming it was on his “bucket list” to do a pipeline. Wright immediately volunteered to




     1SCMED has assigned all causes of action related to Black Duck to Moore. See Ex. 1
     (Assignments of Claims).
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     supply all funds to purchase the right-of-way, representing that he had the cash on hand to

     fully fund the acquisition and maintenance of the right-of-way until a developer could be

     secured. Borders and Moore consented to Wright’s role as the right-of-way funder through

     Black Duck. Wright reimbursed Moore and Borders for the $25,000 the two men had already

     paid, and Borders, on behalf of Longbranch, orally agreed to assign the Purchase Agreement

     to Black Duck. Wright and Moore, on behalf of Black Duck, orally agreed to give Longbranch

     a 20% net-profits share that would attach and run with the right-of-way.

             After Black Duck received the right to purchase the right-of-way, Wright repeatedly

     pushed to find a buyer—even though Black Duck had not yet closed on the purchase. In his

     talks with potential buyers, Wright falsely represented that the right-of-way had already

     closed. Wright also misrepresented Border’s and Moore’s interests in the right-of-way,

     claiming Borders “stayed on as a 15% partner” and that Moore only “own[ed] 35%” of Black

     Duck’s “85% of Contract” to purchase the right-of-way. Ultimately, Black Duck was unable

     to find a buyer for its interest in the right-of-way without first closing on it.

     III.    Black Duck closed on the right-of-way, and Wright now claims that Black Duck
             took out a loan from KrisJenn—without any authorization from Moore.

             Black Duck finally closed on the right-of-way in August 2017. At all times prior to the

     closing, Wright had represented he was a wealthy man and that he could fund the purchase

     of the right-of-way using his own funds. But Moore learned much later that Wright borrowed

     $4.1 million through KrisJenn Ranch to close the purchase of the right-of-way. Wright also

     represented that his capital contribution was to be his consideration for his interest in the

     right-of-way. Yet Wright now claims that his capital contribution was a loan to Black Duck.

             Wright and KrisJenn Ranch’s alleged loans to Black Duck were neither disclosed nor

     authorized by Moore, who was a manager of Black Duck and whose entity owned 50% of

     Black Duck. Black Duck’s company agreement required transactions to be approved by

     disinterested management and, absent a special resolution (which did not exist here), also

     required the agreement of all managers to encumber Black Duck’s assets. Such approval was

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     never granted. Additionally, although the “loan documents” purport to evidence a loan

     transaction consummated on August 14, 2017, those documents—involving an undisclosed

     wrap-around deed of trust using the right-of-way as collateral—were not executed or

     notarized until January 18, 2018.2

     IV.    Wright pushes Moore to resign while secretly negotiating with a potential buyer.

            In January 2018, Wright grew increasingly hostile to Moore and pressured Moore to

     resign from Black Duck. Wright swore at Moore and told him the right-of-way deal had

     failed. He also complained that Moore hadn’t secured a buyer, even though Moore had no

     such obligation. Eventually, after several hostile conversations, Moore agreed to resign from

     Black Duck—and relinquish his 50% interest in all of Black Duck’s assets, including the right-

     of-way—in exchange for a carried interest in the right-of-way and 50% of all note payments.

            As it turns out, Wright had been secretly working for months on a right-of-way deal

     that had not been disclosed to Moore. Just days after Moore resigned, the putative buyer,

     John Terrill, signed a letter of intent to purchase the right-of-way from Black Duck for $2.5

     million, with Black Duck retaining a 16% carried interest in a future waterline. On April 3,

     Wright executed a deed transferring the right-of-way from Black Duck to TCRG.

            On April 4, Moore and Borders learned for the first time that the right-of-way was

     being sold. When the men confronted Wright, Wright promised that Terrill knew about

     Borders’s and Moore’s proposed interests. Wright also promised to send copies of the deal

     documents to Borders and Moore.

            Wright never shared the deal documents with Borders or Moore, and eventually

     Moore reached out to Terrill. During the call, Terrill told Moore that Wright had not

     disclosed Borders’s or Moore’s interests in the right-of-way; that Terrill did not intend to


     2Additionally, the trustee on the deed of trust—David Strolle—is a lawyer at the firm that
     drafted Black Duck’s company agreement. Strolle also appears to have prepared the loan
     documents—yet never disclosed those loan documents to Moore or to Moore’s entity,
     which was a 50% partner in Black Duck.
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     honor those interests; and that Terrill had been working on the right-of-way-deal for a long

     time.

     V.      Wright has repeatedly lied about his actions and disregarded his agreements
             with Moore.

             It took several months and review of countless emails to discover the extent of

     Wright’s and Terrill’s lies. If Moore had known or suspected that Wright had crafted a

     scheme to sell the right of way and claim Moore only had an interest in Black Duck’s profits

     (instead of a running net-profits interest that attached to the right-of-way), he would not have

     agreed to resign from Black Duck. Nor would Moore have given up his right to 50% of Black

     Duck’s profits in exchange for 20% of its profits from the sale of the right-of-way (which was,

     by far, Black Duck’s most valuable asset).

             Eventually, TCRG demanded that Wright rescind the sale of the right-of-way in light

     of Wright’s misrepresentations. Wright and his entities now claim that KrisJenn Ranch

     “foreclosed” on the alleged loans Black Duck owed. But contradicting that assertion,

     KrisJenn Ranch and Wright claimed in July 2019 that the loan secured by a lien on the right-

     of-way was paid; they filed a release of lien in Rusk County that “acknowledge[d] its payment

     and release[d] the property from the lien.”

             Wright has lied to Moore and DMA and disregarded his agreements with and

     promises to Moore (and Moore’s entities) time and again. Wright told Moore, his partner,

     that he would provide capital to fund Black Duck’s investments, but later represented his

     capital contribution was an unauthorized “loan” to Black Duck. He transferred to Moore’s

     entity, DMA, a 20% net-profits interest in the right-of-way and a 50% interest in Bigfoot note

     in exchange for Moore’s departure from Black Duck, but then denied that DMA had any

     such interest. And he conspired with his entities and with Terrill and TCRG to sell the right-

     of-way behind Moore’s back and in disregard of DMA’s interest in the right-of-way. Most

     recently, Wright and KrisJenn Ranch covertly borrowed $5.9 million from McLeod Oil, LLC

     and extended McLeod an option to purchase the right-of-way for $6,000,000.

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            Moore now intervenes to protect his rights and to hold Wright accountable for his

     fraud and attempts to escape his promises.

                                             Argument
            Federal Rule of Civil Procedure 24 governs intervention in an adversary proceeding.

     See FED. R. BANKR. P. 7024. Under Rule 24, intervention is mandatory when the party

     seeking to intervene “claims an interest relating to the property or transaction that is the

     subject of the action, and is so situated that disposing of the action may as a practical matter

     impair or impede the movant’s ability to protect its interest, unless existing parties

     adequately represent that interest.” F ED. R. CIV. P. 24(a)(2). By contrast, permissive

     intervention is appropriate when the party seeking to intervene “has a claim or defense that

     shares with the main action a common question of law or fact.” F ED. R. CIV. P. 24(b)(2).

            Moore has a mandatory right to intervene in this adversary proceeding because he

     claims an interest relating to the transactions at issue, and disposing of this adversary

     proceeding without Moore risks impairing or impeding his ability to protect his interests.

     DMA asserted claims against Wright, KrisJenn Ranch and its series, and Terrill in

     connection with Wright’s efforts to sell the right-of-way to Terrill in disregard of DMA’s

     net-profits interest. Moore now seeks to assert his own claims—including claims for fraud

     and breach of fiduciary duty—against those parties for the same conduct. Moore also intends

     to seek a determination of nondischargeability in connection with those claims, because

     Wright used KrisJenn Ranch to effectuate his fraud while violating fiduciary duties owed to

     Moore and Black Duck. See 11 U.S.C. §523(a)(2)(A).

            DMA cannot adequately represent Moore’s interest with respect to those claims. For

     example, DMA cannot adequately represent Moore’s interest with respect to Moore’s

     nondischargeability claims. Those claims can only be asserted by Moore and must be

     resolved through the course of this bankruptcy. DMA will also be unable to represent or

     protect Moore’s interests as a practical matter in the event that KrisJenn Ranch, LLC


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     becomes insolvent. Given the inability of existing parties to adequately represent Moore’s

     interests, Moore must be allowed to intervene.

            In the alternative, permissive intervention is appropriate because Moore’s claims

     share common questions of law and fact with the claims and counterclaims already asserted

     by KrisJenn Ranch and DMA. See FED. R. CIV. P. 24(b)(2). All claims in this adversary

     proceeding arise from Wright’s misrepresentations and fraudulent dealings and concern the

     parties’ respective interests in the same pipeline right-of-way. Rather than delaying or

     prejudicing the adjudication of the original parties’ rights, Moore’s intervention will

     facilitate final resolution of these claims and ensure that the parties have clarity regarding

     their respective rights and obligations at the conclusion of the bankruptcy.

                                           Conclusion
            Moore’s claims are inextricably intertwined with the claims and counterclaims

     already asserted in this action. Moore respectfully moves the Court to allow Moore to

     intervene in this action so that Moore can protect his interests with respect to those claims.




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                                                 Respectfully submitted,

                                                 /s/ Michael Black
                                                 Michael Black
                                                 State Bar No. 02384400
                                                 BURNS & BLACK PLLC
                                                 750 Rittiman Road
                                                 San Antonio, Texas 78209
                                                 210-829-2022
                                                 210-829-2021 fax
                                                 mblack@burnsandblack.com

                                                 Attorneys for Frank Daniel Moore,
                                                 Longbranch Energy, LP and DMA
                                                 Properties, Inc.

                                                 /s/ Christopher S. Johns
                                                 Christopher S. Johns
                                                 State Bar No. 24044849
                                                 Christen Mason Hebert
                                                 State Bar No. 24099898
                                                 JOHNS & COUNSEL PLLC
                                                 14101 Highway 290 West, Suite
                                                  400A
                                                 Austin, Texas 78737
                                                 512-399-3150
                                                 512-572-8005 fax
                                                 cjohns@johnsandcounsel.com
                                                 chebert@johnsandcounsel.com

                                                 /s/ Timothy Cleveland
                                                 Timothy Cleveland
                                                 State Bar No. 24055318
                                                 CLEVELAND | TERRAZAS PLLC
                                                 4611 Bee Cave Road, Suite 306B
                                                 Austin, Texas 78746
                                                 512-689-8698
                                                 tcleveland@clevelandterrazas.com

                                                 Attorneys for Frank Daniel Moore
                                                 and DMA Properties, Inc.




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                                    CERTIFICATE OF CONFERENCE
           I hereby certify that on June 5, 2020, I contacted counsel for Plaintiffs and asked
     whether Plaintiffs opposed this motion. Plaintiffs stated they were not opposed.
                                                             /s/ Timothy Cleveland
                                                             Timothy Cleveland

                                      CERTIFICATE OF SERVICE
              I hereby certify that a true and correct copy of the foregoing document was served on
     all counsel of record by way of e-service through the CM/ECF system by notice of electronic
     filing or via email on the 5th day of June 2020:

            Mr. Ronald J. Smeberg
            MULLER SMEBERG, PLLC
            111 West Sunset Road
            San Antonio, Texas 78209
            ron@smeberg.com

            Counsel for KrisJenn Ranch, LLC,
            KrisJenn Ranch, LLC–Series Uvalde Ranch,
            and KrisJenn Ranch, LLC–Series Pipeline ROW


            Shane P. Tobin
            OFFICE OF THE UNITED STATES TRUSTEE
            903 San Jacinto Blvd, Room 230
            Austin, Texas 78701
            shane.p.tobin@usdoj.gov

            United States Trustee

            Jeffery Duke
            State Bar No. 24056609
            DUKE BANISTER MILLER & MILLER
            22310 Grand Corner Drive, Suite 110
            Katy, Texas 77494
            jduke@dbmmlaw.com

            Counsel for Longbranch Energy, LP


                                                                  /s/ Michael Black
                                                                  Michael Black


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